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  Livingscapes November Exhibit C
   Date         Type     Total
11/25/2020   Payment             290.00
11/24/2020   Payment       44,820.85
11/22/2020   Payment             975.00
11/21/2020   Payment        1,458.75
11/21/2020   Payment        4,525.00
11/18/2020   Payment             353.00
11/18/2020   Payment        1,800.00
11/18/2020   Payment        1,065.00
11/18/2020   Payment             878.50
11/18/2020   Payment             875.00
11/18/2020   Payment             765.00
11/18/2020   Payment             680.00
11/18/2020   Payment             595.00
11/18/2020   Payment             561.25
11/18/2020   Payment             490.00
11/18/2020   Payment             360.00
11/18/2020   Payment             125.00
11/18/2020   Payment             425.00
11/17/2020   Payment             100.00
11/17/2020   Payment             260.00
11/14/2020   Payment        1,065.00
11/13/2020   Payment             495.00
11/11/2020   Payment             390.50
11/11/2020   Payment        2,400.00
11/10/2020   Payment             440.00
11/10/2020   Payment             522.50
11/09/2020   Payment             100.00
11/09/2020   Payment        1,248.75
11/09/2020   Payment        1,185.00
11/09/2020   Payment             949.00
11/09/2020   Payment             445.00
11/09/2020   Payment             335.00
11/09/2020   Payment             315.00
11/09/2020   Payment             265.00
11/08/2020   Payment             200.00
11/08/2020   Payment             685.00
11/07/2020   Payment             105.00
11/07/2020   Payment             225.00
11/07/2020   Payment             792.50
11/07/2020   Payment        1,335.00




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                                 Livingscapes November Exhinit D
   Date         Type             Payee          Category            Memo             Total

                                             Bank Charges
11/30/2020   Expense                         & Fees       Service Charge                 6.50



                                                           2974 B SIDCO DR
                                                           COMMERCIAL LAWN 2974 B
                                       Machinery &         SIDCO DR COMMERCIAL
                       COMMERCIAL LAWN Equipment -         LAWN NASHVILLE TN
11/27/2020   Expense   EQUIPMENT       Original Cost       112520 Card#2282            800.00


                                                           NES POWER UTILITY 7041
                                                           S JAMES NES POWER
                                                           UTILITY 7041 S JAMES
11/27/2020   Expense   NES                   Utilities     LIVINGSTON                  161.38



                                                           190AWWV LIVINGS
                                                           PAYROLL 190AWWV
                                             Wages         190AWWV LIVINGS
                                             (Hourly) -    PAYROLL 190AWWV
11/27/2020   Expense   Payroll               Regular Pay   1582663830 LIVINGSCAPES   2,788.97



                                                           190AWWV LIVINGS
                                                           PAYROLL 190AWWV
                                             Wages         190AWWV LIVINGS
                                             (Hourly) -    PAYROLL 190AWWV
11/27/2020   Expense   Payroll               Regular Pay   1582663830 LIVINGSCAPES   1,660.14



                                                           190AWWV LIVINGS
                                                           PAYROLL 190AWWV
                                             Wages         190AWWV LIVINGS
                                             (Hourly) -    PAYROLL 190AWWV
11/27/2020   Expense   Payroll               Regular Pay   1582663830 LIVINGSCAPES      81.00


                                                           1700 Third Ave N
                                                           L2G*METRO WATE 1700
                                                           Third Ave N L2G*METRO
                                                           WATER 615-862-4697 TN
11/27/2020   Expense   1700 Third            Utilities     112520 Card#2282            357.52

                                                           5514 CHARLOTTE PIKE
                                                           WEST AUTO N 5514
                                                           CHARLOTTE PIKE WEST
                                             Repairs &     AUTO NASHVILLE TN
11/27/2020   Expense   5514 CHARLOTTE        Maintenance   112520 Card#2282             20.00


                                                           4474 CLEECES FERRY R IN
                                                           *HOOPER 4474 CLEECES
                                                           FERRY R IN *HOOPER
                                             Materials &   FARM 615-2551777 TN
11/27/2020   Expense   HOOPER FARM           Supplies      112520 Card#2282             70.00




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                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/26/2020   Expense   QuickBooks Payments & Fees       type: Daily.                       2.90


                                                           897 S. Congress Blvd
                                                           CENTER HIL 897 S.
                                                           Congress Blvd CENTER HILL
                       CENTER HILL         Materials &     NUR SMITHVILLE TN 112420
11/25/2020   Expense   NURSERY             Supplies        Card#2282                    205.00


                                                           147 Bear Creek FARM
                                                           BUREAU HEA 147 Bear
                                                           Creek FARM BUREAU HEA
                                                           877-874-8323 TN 112420
11/25/2020   Expense   147 Bear            Insurance       Card#2282                    262.75


                                                           2961 KING RD HEATHER
                                                           FARMS N 93 2961 KING RD
                       HEATHER FARMS       Materials &     HEATHER FARMS N 931-635-
11/25/2020   Expense   NURSERY             Supplies        2826 TN 112420 Card#2282     138.50



                                                           PILOT #0413 NASHVILLE TN
                                                           112420 PILOT #0413
                                                           NASHVILLE TN 112420
11/24/2020   Expense   PILOT               Fuel            032999840369 Card#2282          7.21


                                                           PENN NATIONAL IN RECUR
                                                           PMTS 310 PENN NATIONAL
                                           General         IN RECUR PMTS
                                           Liability       3100193796 C230961349
11/24/2020   Expense   PENN                Insurance       LIVINGSCAPES INC            1,549.97


                                                         MAPCO 3347 NASHVILLE TN
                                                         112320 MAPCO 3347
                                           Uncategorized NASHVILLE TN 112320
11/23/2020   Expense   MAPCO               Expense       008173 Card#2282                  9.08


                                                           SAMARA FARMS LLC SALE
                                                           921598620 SAMARA FARMS
                                           Materials &     LLC SALE 9215986202
11/23/2020   Expense   SAMARA              Supplies        JAMES LIVINGSTON            1,134.00


                                                           THORNTONS #0608 - 7102
                                                           NASHVILL THORNTONS
                                                           #0608 - 7102 NASHVILLE TN
                                                           112120 112110176845
11/23/2020   Expense   THORNTONS           Fuel            Card#2282                       6.88

                                                           463 HIGHWAY 53 E
                                                           CAPTAIN D'S 35 463
                                                           HIGHWAY 53 E CAPTAIN
                                           Meals -         D'S 356 CALHOUN GA
11/23/2020   Expense   463 HIGHWAY         Officers Only   112220 Card#2282              10.68




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                                                         SAMARA FARMS LLC SALE
                                                         921598620 SAMARA FARMS
                                           Materials &   LLC SALE 9215986202 S
11/23/2020   Expense   SAMARA              Supplies      JAMES LIVINGSTON               60.00

                                                         ATM Withdrawal 7102
                                                         CHARLOTTE P ATM
                                                         Withdrawal 7102
                                                         CHARLOTTE PK NASHVILLE
                                           Materials &   TN 112120 00006197
11/23/2020   Expense   ATM                 Supplies      Card#2282                      60.00


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/22/2020   Expense   QuickBooks Payments & Fees       type: Daily.                      9.75



                                                         190AWWV LIVINGS
                                                         PAYROLL 190AWWV
                                           Wages         190AWWV LIVINGS
                                           (Hourly) -    PAYROLL 190AWWV
11/20/2020   Expense   Payroll             Regular Pay   1582663830 LIVINGSCAPES        79.50



                                                         190AWWV LIVINGS
                                                         PAYROLL 190AWWV
                                           Wages         190AWWV LIVINGS
                                           (Hourly) -    PAYROLL 190AWWV
11/20/2020   Expense   Payroll             Regular Pay   1582663830 LIVINGSCAPES      3,167.90



                                                         190AWWV LIVINGS
                                                         PAYROLL 190AWWV
                                           Wages         190AWWV LIVINGS
                                           (Hourly) -    PAYROLL 190AWWV
11/20/2020   Expense   Payroll             Regular Pay   1582663830 LIVINGSCAPES      1,917.67


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/19/2020   Expense   QuickBooks Payments & Fees       type: Daily.                      4.25


                                                         556 S. Fair Oaks Ave
                                                         SPK*SPOKEO 556 S. Fair
                                                         Oaks Ave SPK*SPOKEO
                                           Materials &   SEAR 800-6994264 CA
11/19/2020   Expense   556 S               Supplies      111720 Card#2282               14.85


                                                         556 S. Fair Oaks Ave
                                                         SPK*SPOKEO 556 S. Fair
                                                         Oaks Ave SPK*SPOKEO
                                           Materials &   SEAR 800-6994264 CA
11/19/2020   Expense   556 S               Supplies      111720 Card#2282                 8.85




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                                                        MOBILE MINI 8004561751
                                                        18607483 MOBILE MINI
                                           Rent & Lease 8004561751 1860748362
11/19/2020   Expense   Mobile              (Buildings)  JAMES LIVINGSTON               143.42


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/18/2020   Expense   QuickBooks Payments & Fees       type: Daily.                      3.53


                                                         211 S Akard Room 1210
                                                         AT&T *PAY 211 S Akard
                                                         Room 1210 AT&T *PAYMENT
                                                         800-288-2020 TX 111720
11/18/2020   Expense   211 S               Cell Phone    Card#2282                     101.65


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/17/2020   Expense   QuickBooks Payments & Fees       type: Daily.                      3.60


                                                         SHELL SERVICE S
                                                         FRANKLIN TN 111 SHELL
                                                         SERVICE S FRANKLIN TN
                                                         111720 032243818031
11/17/2020   Expense   SHELL               Fuel          Card#2282                      20.00


                                                         11315 Williamson Ro GO
                                                         ILAWN SO 11315 Williamson
                                           Office        Ro GO ILAWN SOFTWA
                                           Supplies &    8002706782 OH 111620
11/17/2020   Expense   11315 Williamson    Software      Card#2282                      60.00

                                                         11315 Williamson Ro GO
                                                         ILAWN SU 11315 Williamson
                                           Office        Ro GO ILAWN SUBSCR
                                           Supplies &    8002706782 OH 111620
11/17/2020   Expense   11315 Williamson    Software      Card#2282                     300.00


                                                        MOBILE MINI 8004561751
                                                        18607483 MOBILE MINI
                                           Rent & Lease 8004561751 1860748362
11/17/2020   Expense   Mobile              (Buildings)  JAMES LIVINGSTON               153.67

                                                         628 OLD HICKORY BLV IN
                                                         *STONETR 628 OLD
                                                         HICKORY BLV IN
                                                         *STONETREE M 615-
                                       Materials &       6462208 TN 111320
11/16/2020   Expense   STONETREE MULCH Supplies          Card#2282                     122.50



                                                         190AWWV LIVINGS
                                                         PAYROLL 190AWWV
                                           Wages         190AWWV LIVINGS
                                           (Hourly) -    PAYROLL 190AWWV
11/16/2020   Expense   Payroll             Regular Pay   1582663830 LIVINGSCAPES      3,052.92




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                                                            699A OLD HICKORY BL
                                                            MESTIZOS ME 699A OLD
                                                            HICKORY BL MESTIZOS
                                             Meals - With   MEXICA NASHVILLE TN
11/16/2020   Expense   699A                  Clients        111220 Card#2282               28.38


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/15/2020   Expense   QuickBooks Payments & Fees       type: Daily.                       10.00


                                                            4225 ASHLAND CITY HW
                                                            NASHVILLE 4225 ASHLAND
                                                            CITY HW NASHVILLE
                       NASHVILLE             Materials &    NURSE 615-2443478 TN
11/13/2020   Expense   NURSERY               Supplies       111220 Card#2282              221.23


                                                            845 Bell Rd SQ *GLB
                                                            FINANCI gos 845 Bell Rd SQ
                                             Accounting & *GLB FINANCI gosq.com TN
11/13/2020   Expense   845 Bell              Administrative 111220 Card#2282              350.00



                                                            190AWWV LIVINGS
                                                            PAYROLL 190AWWV
                                             Wages          190AWWV LIVINGS
                                             (Hourly) -     PAYROLL 190AWWV
11/13/2020   Expense   Payroll               Regular Pay    1582663830 LIVINGSCAPES      1,611.16



                                                            190AWWV LIVINGS
                                                            PAYROLL 190AWWV
                                             Wages          190AWWV LIVINGS
                                             (Hourly) -     PAYROLL 190AWWV
11/13/2020   Expense   Payroll               Regular Pay    1582663830 LIVINGSCAPES        81.00

                                             Bank Charges
11/13/2020   Expense   NSF                   & Fees       NSF Fee                          38.00

                                             Bank Charges
11/13/2020   Expense   Overdraft             & Fees       Overdraft Item Fee               38.00


                                                          MOBILE MINI 8004561751
                                                          18607483 MOBILE MINI
                                             Rent & Lease 8004561751 1860748362
11/13/2020   Expense   Mobile                (Buildings)  JAMES LIVINGSTON                113.84


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/13/2020   Expense   QuickBooks Payments & Fees       type: Daily.                         4.95

                                                            600 OLD HICKORY BLV
                                                            DICKENS TUR 600 OLD
                       DICKENS TURF &                       HICKORY BLV DICKENS
                       LANDSCAPE             Materials &    TURF AN NASHVILLE TN
11/12/2020   Expense   SUPPLY                Supplies       110920 Card#2282               26.22




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                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/12/2020   Expense   QuickBooks Payments & Fees       type: Daily.                   3.91


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/11/2020   Expense   QuickBooks Payments & Fees       type: Daily.                  10.00

                                                          5304 HARDING PIKE HART
                                                          ACE HDWE 5304 HARDING
                                                          PIKE HART ACE HDWE
                       HART ACE            Materials &    NASHVILLE TN 110920
11/10/2020   Expense   HARDWARE            Supplies       Card#2282                   27.82


                                                          3000 WEST END AVE
                                                          BRICKTOP'S NA 3000 WEST
                                                          END AVE BRICKTOP'S
                                           Meals - With   NASH NASHVILLE TN
11/10/2020   Expense   3000 WEST           Clients        110920 Card#2282            78.37


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/10/2020   Expense   QuickBooks Payments & Fees       type: Daily.                   9.63


                                                          4225 ASHLAND CITY HW
                                                          NASHVILLE 4225 ASHLAND
                                                          CITY HW NASHVILLE
                       NASHVILLE           Materials &    NURSE 615-2443478 TN
11/09/2020   Expense   NURSERY             Supplies       110620 Card#2282            49.16

                                                          1451 E MAIN ST MR BABY
                                                          BACK RE 1451 E MAIN ST
                                                          MR BABY BACK RE
                                           Meals - With   BROWNSVILLE TN 110320
11/09/2020   Expense   1451 E              Clients        Card#2282                   36.37


                                                          5405 HARDING ROAD
                                                          SPORTSMAN'S G 5405
                                                          HARDING ROAD
                                                          SPORTSMAN'S GRI
                                                          NASHVILLE TN 110820
11/09/2020   Expense   5405 HARDING        Uniforms       Card#2282                   45.11

                                                          501 GALLATIN AVE.
                                                          PORTER ROAD N 501
                                           Meals -        GALLATIN AVE. PORTER
                                           Employees      ROAD NASHVILLE TN
11/09/2020   Expense   501 GALLATIN        (Meetings)     110720 Card#2282            53.90


                                                          612 OLD HICKORY BLV CAR
                                                          WASH PL 612 OLD
                                                          HICKORY BLV CAR WASH
                                           Repairs &      PLACE NASHVILLE TN
11/09/2020   Expense   612 OLD             Maintenance    110820 Card#2282             9.00




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                                                         BP#8774606MAPCO
                                                         NASHVILLE TN 11
                                                         BP#8774606MAPCO
                                                         NASHVILLE TN 110720
11/09/2020   Expense   BP                  Fuel          031286678342 Card#2282         14.17


                                                         BP#6631451ROCK
                                                         LEWISBURG TN 110
                                                         BP#6631451ROCK
                                                         LEWISBURG TN 110720
11/09/2020   Expense   BP                  Fuel          031342085962 Card#2282         20.14

                                                         7362 NOLENSVILLE RD
                                                         NATURES BES 7362
                                                         NOLENSVILLE RD
                                                         NATURES BEST NU
                       NATURE'S BEST       Materials &   NOLENSVILLE TN 110720
11/09/2020   Expense   NURSERY             Supplies      Card#2282                     814.00


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/09/2020   Expense   QuickBooks Payments & Fees       type: Daily.                    77.40


                                                        System-recorded fee for
                                                        QuickBooks Payments. Fee-
                                           Bank Charges name: DiscountRateFee, fee-
11/08/2020   Expense   QuickBooks Payments & Fees       type: Daily.                      2.00



                                                         190AWWV LIVINGS
                                                         PAYROLL 190AWWV
                                           Wages         190AWWV LIVINGS
                                           (Hourly) -    PAYROLL 190AWWV
11/06/2020   Expense   Payroll             Regular Pay   1582663830 LIVINGSCAPES        79.50


                                                         655 BUSINESS CENTER
                                                         PNC EQUIPME 655
                                                         BUSINESS CENTER PNC
                                           PNC           EQUIPMENT F 267-9604000
11/06/2020   Expense   655 BUSINESS        Equipment     PA 110520 Card#2282          1,972.68



                                                         WASTE MANAGEMENT
                                                         INTERNET 90490 WASTE
                                           Dump &        MANAGEMENT INTERNET
                                           Waste         9049038216 S LIVINGSTON
11/06/2020   Expense   WASTE               Management    JAMES                         166.73



                                                         190AWWV LIVINGS
                                                         PAYROLL 190AWWV
                                           Wages         190AWWV LIVINGS
                                           (Hourly) -    PAYROLL 190AWWV
11/06/2020   Expense   Payroll             Regular Pay   1582663830 LIVINGSCAPES      3,084.92




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                                                             190AWWV LIVINGS
                                                             PAYROLL 190AWWV
                                             Wages           190AWWV LIVINGS
                                             (Hourly) -      PAYROLL 190AWWV
11/06/2020   Expense   Payroll               Regular Pay     1582663830 LIVINGSCAPES      1,565.05


                                                             440 Terry Ave N AMZN Mktp
                                                             US*28 440 Terry Ave N AMZN
                                             Office          Mktp US*28 Amzn.combill WA
11/04/2020   Expense   440 Terry             Expenses        110420 Card#2282               49.16

                                                             One Apple Park Way
                                                             APPLE.COMBIL One Apple
                                                             Park Way APPLE.COMBILL
                                                             866-712-7753 CA 110320
11/04/2020   Expense   One                   Cell Phone      Card#2282                        0.99


                                                             624 HILLSBORO BLVD.
                                                             SONIC DRIVE 624
                                                             HILLSBORO BLVD. SONIC
                                             Meals -         DRIVE IN MANCHESTER TN
11/03/2020   Expense   624 HILLSBORO         Officers Only   110220 Card#2282               16.66


                                                             AUTOZONE 7621 HWY 70
                                                             NASHVILLE AUTOZONE
                                                             7621 HWY 70 NASHVILLE
                                             Repairs &       TN 110320 110309029059
11/03/2020   Expense   AUTOZONE              Maintenance     Card#2282                      59.83


                                                             PENN NATIONAL IN RECUR
                                                             PMTS 800 PENN NATIONAL
                                             General         IN RECUR PMTS
                                             Liability       8000271667 C230961349
11/03/2020   Expense   PENN                  Insurance       LIVINGSTON JAMES              115.50


                                                             600 NORTH POINT PKW
                                                             AT&T*BILL P 600 NORTH
                                                             POINT PKW AT&T*BILL
                                                             PAYME 8003310500 GA
11/02/2020   Expense   ATT                   Cell Phone      103120 Card#2282              257.17

                                                             440 Terry Ave N
                                                             Amazon.com*285V 440 Terry
                                                             Ave N Amazon.com*285V
                                                             Amzn.combill WA 110120
11/02/2020   Expense   440 Terry             Tools           Card#2282                      27.31


                                                             O'REILLY AUTO P
                                                             NASHVILLE TN 11 O'REILLY
                                                             AUTO P NASHVILLE TN
                                             Repairs &       110220 030744546493
11/02/2020   Expense   O'REILLY              Maintenance     Card#2282                      90.15




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                                                     CIRCLE K # 3713
                                                     MANCHESTER TN 1 CIRCLE
                                                     K # 3713 MANCHESTER TN
                                                     110120 030627884282
11/02/2020   Expense   CIRCLE             Fuel       Card#2282                  32.20

                                                     13565 Horseshoe Cir
                                                     LEGENDARY W 13565
                                                     Horseshoe Cir LEGENDARY
                                          Office     WALL 7205802507 CO
11/02/2020   Expense   13565 Horseshoe    Expenses   103120 Card#2282          264.99




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Livingscapes November Exhibit F

             Transacti                                 Open
   Date       on Type Due Date         Property       Balance


12/06/2020   Invoice   12/21/2020    A-M                   80.00
                                                  $        80.00


12/06/2020   Invoice   12/21/2020    A-M                   50.00
                                                  $        50.00


12/06/2020   Invoice   12/21/2020    A-M                  745.00
                                                  $       745.00


08/02/2020   Invoice   08/17/2020    A-M                  495.00
12/07/2020   Invoice   12/22/2020                         345.00
                                                  $       840.00


11/18/2020   Invoice   12/03/2020    A-M                  570.00
                                                  $       570.00


12/06/2020   Invoice   12/21/2020    A-M                  405.00
                                                  $       405.00


12/06/2020   Invoice   12/21/2020    A-M                1,095.00
                                                  $     1,095.00


12/06/2020   Invoice   12/21/2020    A-M                  315.00
                                                  $       315.00


11/07/2020   Invoice   11/22/2020    A-M                  525.00
                                                  $       525.00


11/07/2020   Invoice   11/22/2020    A-M                  380.00
12/06/2020   Invoice   12/21/2020                       1,040.00
                                                  $     1,420.00


11/21/2020   Invoice   12/06/2020    A-M                1,010.00
                                                  $     1,010.00


12/06/2020   Invoice   12/21/2020    A-M                1,060.00
                                                  $     1,060.00


11/08/2020   Invoice   11/23/2020    A-M                  398.00
11/18/2020   Invoice   12/03/2020                       2,173.50
12/06/2020   Invoice   12/21/2020                         895.00
                                                  $     3,466.50



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11/08/2020   Invoice   12/08/2020    A-M               528.00
                                                  $    528.00


08/01/2020   Invoice   08/16/2020    A-M              1,737.50
                                                  $   1,737.50


12/06/2020   Invoice   12/21/2020    A-M              1,085.00
                                                  $   1,085.00


12/06/2020   Invoice   12/21/2020    A-M              1,078.75
                                                  $   1,078.75


12/06/2020   Invoice   12/21/2020    A-M               100.00
                                                  $    100.00


12/06/2020   Invoice   12/21/2020    A-M               325.00
                                                  $    325.00


12/06/2020   Invoice   12/21/2020    A-M               846.25
                                                  $    846.25


06/07/2020   Invoice   06/07/2020    A-M              2,097.00
                                                  $   2,097.00


12/06/2020   Invoice   12/21/2020    A-M               345.00
                                                  $    345.00


11/08/2020   Invoice   11/23/2020    A-M               717.50
12/09/2020   Invoice   12/24/2020                      872.50
                                                  $   1,590.00


11/08/2020   Invoice   11/23/2020    A-M               280.00
12/09/2020   Invoice   12/24/2020                      280.00
                                                  $    560.00


08/02/2020   Invoice   08/17/2020    A-M                80.00
08/24/2020   Invoice   09/08/2020                      160.00
09/27/2020   Invoice   10/12/2020                      644.50
11/08/2020   Invoice   11/23/2020                      200.00
12/09/2020   Invoice   12/24/2020                       80.00
                                                  $   1,164.50


08/24/2020   Invoice   09/08/2020    A-M               160.00
09/27/2020   Invoice   10/12/2020                      265.00
                                                  $    425.00




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12/09/2020   Invoice   12/24/2020    A-M               6,550.00
                                                  $    6,550.00


12/09/2020   Invoice   12/24/2020    A-M                510.00
                                                  $     510.00


12/09/2020   Invoice   12/24/2020    A-M               1,110.00
                                                  $    1,110.00


11/23/2020   Invoice   12/23/2020    A-M               1,430.00
                                                  $    1,430.00


12/09/2020   Invoice   12/24/2020    A-M                721.25
                                                  $     721.25


11/08/2020   Invoice   11/23/2020    A-M                263.00
12/09/2020   Invoice   12/24/2020                       343.00
                                                  $     606.00


08/12/2020   Payment   08/12/2020    A-M                  -9.00
12/09/2020   Invoice   12/24/2020                      1,900.00
                                                  $    1,891.00


12/06/2020   Invoice   12/21/2020    A-M                342.00
                                                  $     342.00


09/27/2020   Invoice   10/12/2020    A-M                405.50
12/10/2020   Invoice   12/25/2020                       135.00
                                                  $     540.50


09/27/2020   Invoice   10/12/2020    A-M                290.00
11/08/2020   Invoice   11/23/2020                       416.00
12/09/2020   Invoice   12/24/2020                       360.00
                                                  $    1,066.00


08/20/2020   Payment   08/20/2020    A-M                -433.61
                                                  -$    433.61


04/08/2019   Invoice   04/23/2019    A-M                379.00
12/16/2019   Invoice   12/31/2019                        80.00
06/14/2020   Invoice   06/29/2020                        40.00
                                                  $     499.00


12/09/2020   Invoice   12/24/2020    A-M                645.00
                                                  $     645.00


12/09/2020   Invoice   12/24/2020    A-M               1,775.00



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                                                  $    1,775.00


09/27/2020   Invoice   10/12/2020    A-M                325.00
                                                  $     325.00


12/09/2020   Invoice   12/24/2020    A-M               1,720.00
                                                  $    1,720.00


11/08/2020   Invoice   11/23/2020    A-M                520.00
12/09/2020   Invoice   12/24/2020                       945.00
                                                  $    1,465.00


08/02/2020   Invoice   08/17/2020    A-M                438.75
12/09/2020   Invoice   12/24/2020                       508.75
                                                  $     947.50


12/09/2020   Invoice   12/24/2020    A-M               2,045.00
                                                  $    2,045.00


12/09/2020   Invoice   12/24/2020    A-M                465.00
                                                  $     465.00


12/09/2020   Invoice   12/24/2020    A-M               1,535.00
                                                  $    1,535.00


11/08/2020   Invoice   11/23/2020    A-M                378.50
12/09/2020   Invoice   12/24/2020                       175.00
                                                  $     553.50


06/14/2020   Invoice   06/29/2020    A-M                305.00
                                                  $     305.00


12/09/2020   Invoice   12/24/2020    A-M               1,145.00
                                                  $    1,145.00


09/27/2020   Invoice   10/12/2020    A-M                140.00
11/08/2020   Invoice   11/23/2020                       140.00
12/09/2020   Invoice   12/24/2020                       140.00
                                                  $     420.00
                                                  $   51,641.64




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                                    150ThirdAvenueSouth
                                                                                      www.pnfp.com
                                    Suite900
                                    Nashville,TN37201                               Phone800Ͳ264Ͳ3613

                                                                                      Account
RETURNSERVICEREQUESTED                                                              LivingscapesLLC
                                                                                      XXXXXXXX2655




                                 LivingscapesLLC
                                 DebtorInPossession
                                 148StonecrestDrive
                                 Nashville,TN372095236




StatementofAccount                                                                                       Horizon75


 Balance11/02/20                         Summary
 $6,148.10
                                                Credits      + $52,738.00
 Balance11/30/20                         Interest     + $.00
 $22,575.91                              Debits       Ͳ $36,310.19

 CreditTransactions
 Deposits
 11/06           OLBTransferfrom*236to*655Transfer          8,600.00
 11/16           OLBTransferfrom*236to*655Transfer          6,000.00
 11/16           ReverseNSFItemCharge                            38.00
 11/20           OLBTransferfrom*236to*655Transfer          9,800.00
 11/24           OLBTransferfrom*236to*655Transfer          3,800.00
 11/25           OLBTransferfrom*236to*655Transfer         24,500.00
 TotalCredits                                                      $52,738.00



 DebitTransactions
 OtherDebits
 11/06           0190AWWVLIVINGSPAYROLL0190AWWV                 79.50
                 1582663830LIVINGSCAPES
 11/06           0190AWWVLIVINGSPAYROLL0190AWWV               1,565.05
                 1582663830LIVINGSCAPES




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AccountNumber:XXXXXXXX2655


 11/06          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        3,084.92
 11/13          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                          81.00
 11/13          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        1,611.16
 11/13          NSFFee                                                                                     38.00
 11/13          OverdraftItemFee                                                                          38.00
 11/16          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        3,052.92
 11/20          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                          79.50
 11/20          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        1,917.67
 11/20          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        3,167.90
 11/27          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                          81.00
 11/27          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        1,660.14
 11/27          0190AWWVLIVINGSPAYROLL0190AWWV1582663830LIVINGSCAPES                        2,788.97

 Checks
 11/06          Check20076                                                                                       748.77
 11/02          Check20077                                                                                       759.10
 11/02          Check20078                                                                                       838.08
 11/04          Check20079                                                                                       711.00
 11/04          Check20080                                                                                       690.09
 11/09          Check20081                                                                                       759.10
 11/06          Check20082                                                                                       690.20
 11/09          Check20083                                                                                       582.04
 11/09          Check20084                                                                                       396.09
 11/10          Check20085                                                                                       575.45
 11/10          Check20086                                                                                       567.09
 11/09          Check20087                                                                                       713.97
 11/13          Check20088                                                                                       533.32
 11/16          Check20089                                                                                       374.01
 11/16          Check20090                                                                                       780.64
 11/17          Check20092*                                                                                      738.68
 11/17          Check20093                                                                                       716.78
 11/23          Check20094                                                                                       554.54
 11/20          Check20095                                                                                       846.25
 11/23          Check20096                                                                                       767.13
 11/23          Check20097                                                                                       618.74
 11/24          Check20098                                                                                       814.07
 11/24          Check20099                                                                                       789.50
 11/23          Check20100                                                                                       745.64
 11/30          Check20101                                                                                       754.18
 TotalDebits                                                                                               $36,310.19
(*)Indicatesgapinchecknumbersequenece


AverageBalanceThisStatement                          $6,803.88    AnnualPercentageYieldEarned                  .00%

InterestEarnedThisPeriod                                  $.00    DaysinPeriod                                     29

InterestPaidYeartoDate                                   $.00    InterestPaid                                    $.00




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 ITEMIZATIONOFOVERDRAFTANDRETURNEDITEMFEES
                                                           TotalForThisPeriod     TotalYearͲtoͲDate

 TotalOverdraftandBounceProtectionPDItemFees                     $38.00                $38.00

 TotalNSFItemFees                                                       $.00               $76.00



 DAILYBALANCEINFORMATION
 11/02                          4,550.92   11/13                 313.83Ͳ   11/24               3,360.20
 11/04                          3,149.83   11/16                1,516.60   11/25              27,860.20
 11/06                          5,581.39   11/17                   61.14   11/27              23,330.09
 11/09                          3,130.19   11/20                3,849.82   11/30              22,575.91
 11/10                          1,987.65   11/23                1,163.77




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AccountNumber:XXXXXXXX2655                                           Date               11/30/20
                                                                       PrimaryAcctNo.   XXXXXXXX2655




         #20076         11/06/2020           $748.77     #20077      11/02/2020           $759.10




         #20078         11/02/2020           $838.08     #20079      11/04/2020           $711.00




         #20080         11/04/2020           $690.09     #20081      11/09/2020           $759.10




         #20082         11/06/2020           $690.20     #20083      11/09/2020           $582.04




         #20084         11/09/2020           $396.09     #20085      11/10/2020           $575.45




         #20086         11/10/2020           $567.09     #20087      11/09/2020           $713.97
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AccountNumber:XXXXXXXX2655                                           Date               11/30/20
                                                                       PrimaryAcctNo.   XXXXXXXX2655




         #20088         11/13/2020           $533.32     #20089      11/16/2020           $374.01




         #20090         11/16/2020           $780.64     #20092      11/17/2020           $738.68




         #20093         11/17/2020           $716.78     #20094      11/23/2020           $554.54




         #20095         11/20/2020           $846.25     #20096      11/23/2020           $767.13




         #20097         11/23/2020           $618.74     #20098      11/24/2020           $814.07




         #20099         11/24/2020           $789.50     #20100      11/23/2020           $745.64
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AccountNumber:XXXXXXXX2655                                           Date               11/30/20
                                                                       PrimaryAcctNo.   XXXXXXXX2655




         #20101         11/30/2020           $754.18




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                                                      Livingscapes Inc
                                                        PROFIT AND LOSS
                                                            November 2020


                                                                                                                TOTAL
Income
 41000 Sales of Product Income                                                                                18,680.17
 42000 Services                                                                                               56,220.43
Total Income                                                                                                 $74,900.60
GROSS PROFIT                                                                                                 $74,900.60
Expenses
 60200 Bank Charges & Fees                                                                                      186.42
 61100 Insurance                                                                                                262.75
  61110 General Liability Insurance                                                                            1,665.47
 Total 61100 Insurance                                                                                         1,928.22
 61400 Meals & Entertainment
  61410 Meals - With Clients                                                                                    143.12
  61420 Meals - Officers Only                                                                                     27.34
  61430 Meals - Employees (Meetings)                                                                              53.90
 Total 61400 Meals & Entertainment                                                                              224.36
 61600 Office Expenses                                                                                          314.15
 61700 Office Supplies & Software                                                                               360.00
 62000 Legal & Professional Services
  62010 Accounting & Administrative                                                                             350.00
 Total 62000 Legal & Professional Services                                                                      350.00
 62200 Rent & Lease (Buildings)                                                                                 410.93
 62400 Repairs & Maintenance                                                                                    178.98
 62500 Materials & Supplies                                                                                    7,715.86
 62600 Telephone & Internet
  62620 Cell Phone                                                                                              359.81
 Total 62600 Telephone & Internet                                                                               359.81
 62700 Tools                                                                                                      -5.45
 63100 Utilities                                                                                                518.90
 63210 Salaries & Wages
  63221 Wages (Hourly) - Regular Pay                                                                          36,843.67
 Total 63210 Salaries & Wages                                                                                 36,843.67
 67010 Dump & Waste Management                                                                                  166.73
 67030 Uniforms                                                                                                   45.11
 67300 Fuel                                                                                                     100.60
 69000 Uncategorized Expense                                                                                       9.08
Total Expenses                                                                                               $49,707.37
NET OPERATING INCOME                                                                                         $25,193.23
NET INCOME                                                                                                   $25,193.23




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                                       Cash Basis Monday, December 14, 2020 01:28 PM GMT-06:00                     1/1
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                              150ThirdAvenueSouth
                                                                                  www.pnfp.com
                              Suite900
                              Nashville,TN37201                                 Phone800Ͳ264Ͳ3613

                                                                                  Account
RETURNSERVICEREQUESTED                                                          LivingscapesLLC
                                                                                  XXXXXXXX1236




                            LivingscapesLLC
                            DebtorInPossession
                            148StonecrestDrive
                            Nashville,TN372095236




StatementofAccount                                                                                   Horizon75


 Balance11/02/20                   Summary
 $54,460.99
                                         Credits         + $74,881.36
 Balance11/30/20                  Interest        + $.00
 $60,401.73                       Debits          Ͳ $68,940.62

 CreditTransactions
 Deposits
 11/02       440TERRYAVENAMZNMKTPUSAM                    32.76
             AMZN.COM/BILLWA103020Card#2282
 11/09       INTUITPYMTSOLNDEPOSIT524771992494446         200.00
             9215986202LIVINGSCAPESINC
 11/10       INTUITPYMTSOLNDEPOSIT524771992494446        5,527.75
             9215986202LIVINGSCAPESINC
 11/12       INTUITPYMTSOLNDEPOSIT524771992494446         962.50
             9215986202LIVINGSCAPESINC
 11/12       INTUITPYMTSOLNDEPOSIT524771992494446        2,400.00
             9215986202LIVINGSCAPESINC
 11/13       INTUITPYMTSOLNDEPOSIT524771992494446         390.50
             9215986202LIVINGSCAPESINC
 11/16       INTUITPYMTSOLNDEPOSIT524771992494446         495.00
             9215986202LIVINGSCAPESINC
 11/16       INTUITPYMTSOLNDEPOSIT524771992494446        1,065.00
             9215986202LIVINGSCAPESINC
 11/18       INTUITPYMTSOLNDEPOSIT524771992494446         360.00
             9215986202LIVINGSCAPESINC
 11/18       RegularDeposit                                 10,600.25




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AccountNumber:XXXXXXXX1236


 11/19           INTUITPYMTSOLNDEPOSIT5247719924944469215986202LIVINGSCAPESINC            353.00
 11/20           INTUITPYMTSOLNDEPOSIT5247719924944469215986202LIVINGSCAPESINC            425.00
 11/23           INTUITPYMTSOLNDEPOSIT5247719924944469215986202LIVINGSCAPESINC            975.00
 11/24           RegularDeposit                                                                 50,804.60
 11/27           INTUITPYMTSOLNDEPOSIT5247719924944469215986202LIVINGSCAPESINC            290.00
 TotalCredits                                                                                      $74,881.36


 DebitTransactions
 OtherDebits
 11/02           440TerryAveNAmazon.com*285VAmzn.com/billWA110120Card#2282                27.31
 11/02           CIRCLEK#3713MANCHESTERTN110120030627884282Card#2282                       32.20
 11/02           O'REILLYAUTOPNASHVILLETN110220030744546493Card#2282                        90.15
 11/02           600NORTHPOINTPKWAT&T*BILLPAYME8003310500GA103120Card#2282               257.17
 11/02           13565HorseshoeCirLEGENDARYWALL7205802507CO103120Card#2282                264.99
 11/03           624HILLSBOROBLVD.SONICDRIVEINMANCHESTERTN110220Card#2282                16.66
 11/03           AUTOZONE7621HWY70NASHVILLETN110320110309029059Card#2282                  59.83
 11/03           PENNNATIONALINRECURPMTS8000271667C230961349LIVINGSTONJAMES         115.50
 11/04           OneAppleParkWayAPPLE.COM/BILL866Ͳ712Ͳ7753CA110320Card#2282                 .99
 11/04           440TerryAveNAMZNMktpUS*28Amzn.com/billWA110420Card#2282                49.16
 11/06           655BUSINESSCENTERPNCEQUIPMENTF267Ͳ9604000PA110520Card#2282            1,972.68
 11/06           OLBTransferfrom*236to*655Transfer                                         8,600.00
 11/06           WASTEMANAGEMENTINTERNET9049038216SLIVINGSTONJAMES                        166.73
 11/09           612OLDHICKORYBLVCARWASHPLACENASHVILLETN110820Card#2282                  9.00
 11/09           BP#8774606MAPCONASHVILLETN110720031286678342Card#2282                        14.17
 11/09           BP#6631451ROCKLEWISBURGTN110720031342085962Card#2282                         20.14
 11/09           1451EMAINSTMRBABYBACKREBROWNSVILLETN110320Card#2282                   36.37
 11/09           5405HARDINGROADSPORTSMAN'SGRINASHVILLETN110820Card#2282                  45.11
 11/09           4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN110620Card#2282             49.16
 11/09           501GALLATINAVE.PORTERROADNASHVILLETN110720Card#2282                      53.90
 11/09           7362NOLENSVILLERDNATURESBESTNUNOLENSVILLETN110720Card#2282              814.00
 11/09           INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            2.00
 11/10           5304HARDINGPIKEHARTACEHDWENASHVILLETN110920Card#2282                    27.82
 11/10           3000WESTENDAVEBRICKTOP'SNASHNASHVILLETN110920Card#2282                  78.37
 11/10           INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC           77.40
 11/12           600OLDHICKORYBLVDICKENSTURFANNASHVILLETN110920Card#2282                26.22
 11/12           INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            9.63
 11/12           INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC           10.00
 11/13           4225ASHLANDCITYHWNASHVILLENURSE615Ͳ2443478TN111220Card#2282             221.23
 11/13           845BellRdSQ*GLBFINANCIgosq.comTN111220Card#2282                         350.00
 11/13           INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            3.91
 11/13           MOBILEMINI80045617511860748362JAMESLIVINGSTON                         113.84
 11/16           699AOLDHICKORYBLMESTIZOSMEXICANASHVILLETN111220Card#2282                28.38
 11/16           628OLDHICKORYBLVIN*STONETREEM615Ͳ6462208TN111320Card#2282              122.50




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 11/16      OLBTransferfrom*236to*655Transfer                                         6,000.00
 11/16      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            4.95
 11/16      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC           10.00
 11/17      SHELLSERVICESFRANKLINTN111720032243818031Card#2282                         20.00
 11/17      11315WilliamsonRoGOILAWNSOFTWA8002706782OH111620Card#2282               60.00
 11/17      11315WilliamsonRoGOILAWNSUBSCR8002706782OH111620Card#2282               300.00
 11/17      MOBILEMINI80045617511860748362JAMESLIVINGSTON                         153.67
 11/18      211SAkardRoom1210AT&T*PAYMENT800Ͳ288Ͳ2020TX111720Card#2282           101.65
 11/18      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            3.60
 11/19      556S.FairOaksAveSPK*SPOKEOSEAR800Ͳ6994264CA111720Card#2282              8.85
 11/19      556S.FairOaksAveSPK*SPOKEOSEAR800Ͳ6994264CA111720Card#2282             14.85
 11/19      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            3.53
 11/19      MOBILEMINI80045617511860748362JAMESLIVINGSTON                         143.42
 11/20      OLBTransferfrom*236to*655Transfer                                         9,800.00
 11/20      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            4.25
 11/23      ATMWithdrawal7102CHARLOTTEPKNASHVILLETN11212000006197Card#2282           60.00
 11/23      THORNTONS#0608Ͳ7102NASHVILLETN112120112110176845Card#2282                  6.88
 11/23      MAPCO3347NASHVILLETN112320008173Card#2282                                    9.08
 11/23      463HIGHWAY53ECAPTAIND'S356CALHOUNGA112220Card#2282                     10.68
 11/23      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            9.75
 11/23      SAMARAFARMSLLCSALE9215986202SJAMESLIVINGSTON                            60.00
 11/23      SAMARAFARMSLLCSALE9215986202JAMESLIVINGSTON                             1,134.00
 11/24      PILOT#0413NASHVILLETN112420032999840369Card#2282                             7.21
 11/24      OLBTransferfrom*236to*655Transfer                                         3,800.00
 11/24      PENNNATIONALINRECURPMTS3100193796C230961349LIVINGSCAPESINC       1,549.97
 11/25      2961KINGRDHEATHERFARMSN931Ͳ635Ͳ2826TN112420Card#2282                    138.50
 11/25      897S.CongressBlvdCENTERHILLNURSMITHVILLETN112420Card#2282              205.00
 11/25      147BearCreekFARMBUREAUHEA877Ͳ874Ͳ8323TN112420Card#2282                  262.75
 11/25      OLBTransferfrom*236to*655Transfer                                         24,500.00
 11/27      5514CHARLOTTEPIKEWESTAUTONASHVILLETN112520Card#2282                      20.00
 11/27      4474CLEECESFERRYRIN*HOOPERFARM615Ͳ2551777TN112520Card#2282             70.00
 11/27      1700ThirdAveNL2G*METROWATER615Ͳ862Ͳ4697TN112520Card#2282                357.52
 11/27      2974BSIDCODRCOMMERCIALLAWNNASHVILLETN112520Card#2282                    800.00
 11/27      INTUITPYMTSOLNTRANFEE5247719924944469215986202LIVINGSCAPESINC            2.90
 11/27      NESPOWERUTILITY0000007041SJAMESLIVINGSTON                         161.38
 11/30      ServiceCharge                                                                     6.50

 Checks
 11/16      Check926                                                                               185.00
 11/13      Check927                                                                               145.00
 11/12      Check928                                                                               697.50
 11/12      Check929                                                                             3,200.00
 11/16      Check930                                                                               144.64
 11/25      Check931                                                                               500.00
 11/19      Check932                                                                               221.23




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 11/30          Check934*                                                                                   279.84
 TotalDebits                                                                                             $68,940.62
(*)Indicatesgapinchecknumbersequenece


AverageBalanceThisStatement                         $50,808.35   AnnualPercentageYieldEarned               .00%

InterestEarnedThisPeriod                                  $.00   DaysinPeriod                                 29

InterestPaidYeartoDate                                   $.00   InterestPaid                                $.00



 DAILYBALANCEINFORMATION
 11/02                           53,821.93     11/12                46,759.84       11/20                  42,284.09
 11/03                           53,629.94     11/13                46,316.36       11/23                  41,968.70
 11/04                           53,579.79     11/16                41,380.89       11/24                  87,416.12
 11/06                           42,840.38     11/17                40,847.22       11/25                  61,809.87
 11/09                           41,996.53     11/18                51,702.22       11/27                  60,688.07
 11/10                           47,340.69     11/19                51,663.34       11/30                  60,401.73




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                                                                       PrimaryAcctNo.      XXXXXXXX1236




         #0             11/18/2020         $10,600.25    #0          11/24/2020           $50,804.60




         #926           11/16/2020           $185.00     #927        11/13/2020             $145.00




         #928           11/12/2020           $697.50     #929        11/12/2020            $3,200.00




         #930           11/16/2020           $144.64     #931        11/25/2020             $500.00




         #932           11/19/2020           $221.23     #934        11/30/2020             $279.84




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